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       In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                          No. 05-471V
                                      Filed: May 12, 2015

* * * * * * * * * * * * * * * *                             UNPUBLISHED
AUGUST STEFKOVICH, parent of N.S., *
a minor,                           *
                                   *                        Special Master Gowen
          Petitioner,              *
                                   *                        Joint Stipulation on Damages;
v.                                 *                        MMR Vaccine; Varicella Vaccine;
                                   *                        Seizure Disorder; Developmental
SECRETARY OF HEALTH                *                        Delay.
AND HUMAN SERVICES,                *
                                   *
          Respondent.              *
                                   *
* * * * * * * * * * * * * * * *

Sylvia Chin-Caplan and Ronald C. Homer, Conway, Homer, & Chin-Caplain, P.C., Boston, MA,
for petitioner.
Heather Pearlman, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On April 14, 2005, August Stefkovich (“petitioner”) filed a petition on behalf of his minor
child, N.S., pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-
1 to -34 (2006). Petitioner alleged that as a result of N.S. receiving a measles-mumps-rubella
(“MMR”) vaccine and a varicella vaccine on April 9, 2002, N.S. developed a seizure disorder that
resulted in global developmental delay. Amended Petition at Intro., filed Jun. 17, 2013. Further,
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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petitioner alleged that N.S. experienced residual effects of her injury for more than six months. Id.
at ¶ 28.

        On May 11, 2015, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation. Respondent denies that N.S.’s seizure disorder, developmental
delay, or any other injury was caused-in-fact by her MMR and varicella vaccinations. Stipulation
at ¶ 6. Respondent also denies that her current disabilities are sequelae of her alleged injuries. Id.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. The
undersigned finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $550,000.00, in the form of a check payable to petitioner, August
       Stefkovich, as guardian/conservator of N.S.’s estate. This amount represents
       compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                               s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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